             Case 2:17-cv-05421-WB Document 10 Filed 02/26/18 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBRA FRAZIER, LA VERNE VANN,                                CIVIL ACTION
ANTHONY BURTON, SHAMAL
BRYANT, THE GUARDIAN CIVIC
LEAGUE, PHILADELPHIA CHAPTER
OF THE NATIONAL ASSOCIATION OF
BLACK LAW ENFORCEMENT                                        NO. 17-5421
OFFICERS,
               Plaintiffs,

                v.

CITY OF PHILADELPHIA, CHIEF
INSPECTOR ANTHONY BOYLE,
RAYMENT EVERS AND JOHN DOES #1-
100,
               Defend ants.

                                    SCHEDULING ORDER

        AND NOW, this 23 day of February, 2018, following a Preliminary Pretrial Conference,

IT IS ORDERED as follows:

        1.      This case is referred to Magistrate Judge Richard Lloret for a settlement

conference. On or before March 2, 2018, counsel for the parties shall contact United States

Magistrate Judge Richard Lloret to schedule a settlement conference.

        2.      Plaintiff shall file an amended Complaint on or before March 15, 2018.

        3.      All fact discovery shall be completed by August 22, 2018

        4.      Any expert reports are due no later than September 19, 2018. If an expert report

is intended solely to contradict or rebut evidence on the same subject matter identified by another

party, counsel shall serve such report on counsel for every other party no later than October 17,

2018.
            Case 2:17-cv-05421-WB Document 10 Filed 02/26/18 Page 2 of 3



       5.       Any party expecting to offer opinion testimony from lay witnesses pursuant to

Federal Rule of Evidence 701 with respect to the issues of liability and damages shall, at the time

required for submission of information and/or reports for expert witnesses, serve opposing

parties with details and/or documents covering the lay opinions of the Rule 701 witnesses.

       6.       Any discovery depositions of expert witnesses shall be completed by November

14, 2018.

       7.       Any motions for summary judgment and/or Daubert motions shall be filed and

served on or before December 12, 2018. If the parties do not plan on filing summary judgment

and/or Daubert motions, they shall so report to the Court (Chambers, Room 3809) on or before

December 12, 2018. In all summary judgment filings, the parties shall comply with the

provisions of this Court's Policies and Procedures regarding the submission of a joint appendix

and of statements of undisputed and disputed material facts.

                 A.     When one party intends to move for summary judgment, that party
                        shall initiate a process whereby the parties shall meet, confer and
                        develop a single, joint appendix of all exhibits, including any and all
                        exhibits that may be referenced in their respective briefs.
                 B.     The joint appendix shall be filed by the movant no later than the date
                        the initial motion for summary judgment is docketed. All pages of
                        the joint appendix shall be consecutively "Bates stamped" and
                        referenced in the motions and briefs by the Bates number assigned
                        each page. The joint appendix shall include a table of contents. The
                        parties shall make every effort to include all necessary exhibits in the
                        initial joint appendix. Should it become necessary for the non-moving
                        party to submit additional exhibits, however, it may do so at the time
                        it files its opposition brief. Any addendum to the joint appendix shall
                        be consecutively Bates stamped, beginning at the page number where
                        the joint appendix left off, and shall include a table of contents. Judge
                        Beetlestone will not consider material not included in the appendix.
                 C.     Statements of Facts
                        1.         Upon motion for summary judgment, counsel shall also
                                   submit a separate Statement of Undisputed Material Facts
                                   containing a numbered, paragraph-by-paragraph recitation
                                   of facts with specific citations to the joint appendix in



                                                2
            Case 2:17-cv-05421-WB Document 10 Filed 02/26/18 Page 3 of 3


                                  support of all of those facts as to which the moving party
                                  contends no genuine issue exists.
                         2.       Counsel opposing a motion for summary judgment shall
                                  also submit a separate Statement of Disputed Material Facts,
                                  stating in similar paragraph form whether that party accepts
                                  or rejects that each fact as stated by the moving party is
                                  undisputed. If a party contends that a fact is in dispute,
                                  citation must be made to the joint appendix that supports the
                                  party's view that that particular fact is in dispute. The party
                                  should then list its own additional disputed facts in the same
                                  format with specific citations to the joint appendix.
                         3.       Counsel for the moving party shall then submit-even if not
                                  filing a reply brief-a separate Reply Statement of
                                  Undisputed Material Facts stating in similar paragraph form
                                  whether that party accepts or rejects that each additional fact
                                  as stated by the opposing party is disputed. If a party
                                  contends that a fact is undisputed, citation must be made to
                                  the joint appendix that supports that party's view that the
                                  particular fact is undisputed.

       8.       For all filings submitted and conferences held pursuant to this scheduling order,

and for all pretrial and trial proceedings referred to herein, counsel shall follow Judge

Beetlestone's Policies and Procedures, a copy of which can be found online at

www.paed.uscourts.gov.



                                                      BY THE COURT:




                                                      WENDY BEETLESTONE, J.




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